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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
SOUTHWEST AIRLINES CO., §
Plaintiff §
§
Vv. § Case Number 3:18-cv-00033-G
§
ROUNDPIPE, LLC, CHASE ROBERTS, §
and PAVEL YUREVICH, §
Defendants §

CONSENT JUDGMENT AND PERMANENT INJUNCTION

WHEREAS, Plaintiff Southwest Airlines Co. has complained against Defendants
Roundpipe, LLC, Chase Roberts, and Pavel Yurevich, and Plaintiff and Defendant agree to entry
of this Consent Judgment and Permanent Injunction without contest in full settlement of all claims
which have been made in this action.

Consent Judgment

WHEREAS, Defendants acknowledge their responsibilities pursuant to this Judgment and
Permanent Injunction, and acknowledge that they will be subject to sanctions in contempt of this
Court if they fail to comply with the provisions of this Judgment and Permanent Injunction.

It Is, Therefore, upon motion of all parties and for good cause shown, ORDERED,
ADJUDGED AND DECREED that:

I, Judgment is hereby entered in favor of Plaintiff and against Defendants on Count |,
Breach of the Terms and Conditions governing the use of Southwest Airline’s web sites namely
www,southwest.com and swabiz.com.

2. Judgment is hereby entered in favor of Plaintiff and against Defendants on Count

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I], Unfair Competition in Violation of 15 U.S.C. § 1125{a) for the intentional and unauthorized use
of trademarks owned by Southwest Airlines,

3. Judgment is hereby entered in favor of Plaintiff and against Defendants on Count
If, Dilution of a Southwest Airlines’ Famous Trademarks.

4. Judgment is hereby entered in favor of Plaintiff and against Defendants on Count
IV, Tarnishment of Southwest Airlines’ Famous Trademarks.

3. Judgment is hereby entered in favor of Plaintiff and against Defendants on Count
V, Computer Fraud and Abuse in Violation of 18 U.S.C. § 1030 for intentionally, and without the
consent of Southwest Airlines, accessing Southwest Airlines’ air fare data through either
www.southwest.com or www.swabiz.com or both.

6. Judgment is hereby entered in favor of Plaintiff and against Defendants on Count
VI, Violation of Texas Penal Code § 33.02 for knowingly, and without Southwest Airlines’
consent, accessing Southwest Airlines’ computers, computer network or computer systems..

Permanent Injunction

7. It is further ORDERED, ADJUDGED AND DECREED that Defendants, and
their officers, agents, servants, employees, and attorneys and all other persons acting who are in
active concert or participation with them, are immediately prohibited, restrained, and enjoined
permanently from:

a. using www.southwest.com, www.swabiz.com or any Southwest Airlines’
website for the purpose of checking fares for Southwest Airlines’ customers in
violation of the Terms and Conditions that govern the use of the websites;

b. accessing www.southwest.com, www.swabiz.com and any other websites,
mobile and other applications, or services that post a link to the Terms and

Conditions (“Sites”) and the information, features, content, and services that

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Southwest Airlines owns, controls, or makes available through the Sites in
violation of 18 U.S.C. 8 1030;

c. breaching or inducing others to breach any of the Terms and Conditions in the
online agreement that governs the use of and access to www.southwest.com,
www.swabiz.com, and any other websites, mobile and other applications, or
services that post a link to the Terms and Conditions and the information,
features, content, and services that Southwest Airlines owns, controls, or makes
availabie through the Sites.;

d. accessing, without effective consent, any Southwest Airlines’ Systems or
computer network in violation of Section 33.02 of the Texas Penal Code; and

e. assisting, aiding, or abetting any other person or business entity in engaging in
or performing any of the activities referred to in subparagraphs (i) through (iv)
above.

8. All costs of court, attorneys’ fees, and other costs incurred herein shall be born by the
party incurring same.

9. This Court retains jurisdiction over this matter for the purposes of enforcing this
Consent Judgment.

10. The Parties agree not to challenge the entry of the Judgment and waive all rights of
appeal.

1EIT TS SO ORDERED, ADJUDGED, and DECREED:

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DATE ¢ 7 A. JOE FISH
Senior United States District Judge

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